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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNEQUAL TECHNOLOGIES COMPANY,                               CIVIL ACTION

        Plaintiff,
                                                             NO. 22-2192-KSM
        v.

 MERCURY SCREEN PRINTING,

        Defendant.



                                               ORDER

       AND NOW, this 19th day of January, 2023, upon consideration of the Defendant’s

motion to dismiss (Doc. No. 17), Plaintiff’s response (Doc. No. 18), Defendant’s reply (Doc. No.

19), and Plaintiff’s sur-reply (Doc. No. 21), following oral argument, and for the reasons set

forth in the accompanying Memorandum, it is hereby ORDERED that the motion to dismiss is

GRANTED and the Complaint is DISMISSED for lack of personal jurisdiction.

IT IS SO ORDERED.

                                                     /s/Karen Spencer Marston_______
                                                     KAREN SPENCER MARSTON, J.
